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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · · ·CIVIL ACTION NO. 20-cv-01936-STV
·4
·5· · ·TIMOTHY JAMES COATES, GENE CLAPS, MARK MITCHELL, AND
·6· · · · · · · · · · · · KEVIN CURRIER,
·7· · · · · · · · · · · · · Plaintiffs
·8
·9· · · · · · · · · · · · · · · V.
10
11· · · ·THE ADAMS COUNTY SHERIFF'S OFFICE, A GOVERNMENTAL
12· · · ENTITY; RICHARD A. REIGENBORN, IN HIS OFFICIAL AND
13· · · · · · · · · · ·INDIVIDUAL CAPACITY,
14· · · · · · · · · · · · · Defendants
15
16
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21
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23· ·DEPONENT: CHRIS LAWS
24· ·DATE:· · ·JULY 30, 2021
25· ·REPORTER: KELSEY PERKINS




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·1· · · · A· · I think it was, like, in the middle of the end
·2· ·part.· You know, it was, like, -- and I don't know the
·3· ·exact dates or anything like that.
·4· · · · Q· · Okay.
·5· · · · A· · Yeah.
·6· · · · Q· · But during your tenure, no one's been
·7· ·terminated without even the initiation of an internal
·8· ·affairs investigation?
·9· · · · A· · Not that I'm aware of.
10· · · · Q· · Okay.· What about in other divisions?
11· · · · A· · I can't think of anybody else who's been -- I
12· ·mean, we've had, like, -- I think they even started one
13· ·but is, like, guys that are in the academy that aren't,
14· ·you know, they're having some kind of issue.· And so
15· ·they -- I don't know if they actually do it in internal
16· ·affairs or because they're not a tenure to -- not even a
17· ·tenure but, like, through their probation.· They just go
18· ·ahead and hand -- leave the employment there.
19· · · · Q· · Okay.· So --
20· · · · A· · Aragon is the name of the other commander.
21· · · · Q· · Aragon.· Thank you.
22· · · · A· · You would come to me.· I just had to get it
23· ·out.
24· · · · · · ·COURT REPORTER:· Would you repeat that,
25· · · · please?




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·1· ·So little bit of experience of to what I was doing now
·2· ·that I've come back.
·3· · · · Q· · Were you trained on the rights that employees
·4· ·have to learn about the grounds for their discipline?
·5· · · · A· · Yes.
·6· · · · Q· · Could you describe that?
·7· · · · A· · Basically that if they come in for their
·8· ·disciplinary, you informed that they're in -- they're
·9· ·informed to -- that they're being investigated and the -
10· ·- you know, the right to review what those charges are.
11· ·And then, you know, there were -- they have the right to
12· ·give their defense as to -- or their version of the
13· ·story as to what happened, and then that's what
14· ·contributes to that.· They have their right to give you
15· ·any follow-up information if they need to and then also
16· ·to an appeal.
17· · · · Q· · Were you trained about the basis for those
18· ·rights?
19· · · · A· · I'm sure, I was, but I can't put them to you
20· ·right now.
21· · · · Q· · Do those rights come from law?
22· · · · A· · Yes.· And I think part of it is also
23· ·established in our policy as well.· So we set up in our
24· ·policy, these are the rights we have as when being
25· ·investigated.· So that also falls in there.




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·1· ·was demoted.
·2· · · · Q· · And what did you think when you learned that
·3· ·Paul Gregory had been demoted?
·4· · · · A· · I was surprised.· Paul was a good -- he's a
·5· ·good guy.· I hadn't had a whole lot of experience with
·6· ·him.· But what I had heard through the years was that he
·7· ·was a good employee.· When I did work with him at the
·8· ·jail, he was good.· So surprised.
·9· · · · Q· · What is Paul Gregory's current position?
10· · · · A· · He was just promoted to chief.
11· · · · Q· · Of which division?
12· · · · A· · Patrol.
13· · · · Q· · So he replaced who?
14· · · · A· · Toth.
15· · · · Q· · Were you aware that Sam Thede was given a
16· ·termination letter?
17· · · · A· · No.· I thought he was just demoted.
18· · · · Q· · And what did you think when you learned he was
19· ·demoted?
20· · · · A· · Very surprised.· I worked with Sam a lot.
21· ·Good guy.· So surprising to me.
22· · · · Q· · Were you aware that Manuel Carrillo was given
23· ·a termination letter?
24· · · · A· · No.· Same thing, I thought he was just
25· ·demoted.· And it surprised me because Manny is a --




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·1· ·surprised that the chiefs had all been terminated?
·2· · · · A· · I wouldn't say surprised because it's -- like
·3· ·I said, it's always -- we grew up with that.· You -- you
·4· ·expect that if a new sheriff comes in, he's going to
·5· ·clean the house.· He wants to know that the people that
·6· ·work for him are loyal.· You can see it in other
·7· ·organizations.· And so it's just that, like I said
·8· ·earlier, common knowledge that he would do that.
·9· · · · Q· · So just to clean up the record a bit, based on
10· ·your understanding, who did Gene Claps support in the
11· ·2018 sheriff's election?
12· · · · A· · Mike McIntosh.
13· · · · Q· · What about T.J. Coates?
14· · · · A· · Mike McIntosh.
15· · · · Q· · Mark Mitchell?
16· · · · A· · Mike McIntosh.
17· · · · Q· · And Kevin Currier?
18· · · · A· · Mike McIntosh.
19· · · · Q· · What about Paul Gregory?
20· · · · A· · Mike McIntosh.
21· · · · Q· · And Terrance O'Neill?
22· · · · A· · Mike McIntosh.
23· · · · Q· · Sam Thede?
24· · · · A· · Mike McIntosh.
25· · · · Q· · And Manuel Carrillo?




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·1· · · · A· · Mike McIntosh.
·2· · · · Q· · Was each of these individuals either
·3· ·terminated or demoted after Sheriff Reigenborn became
·4· ·sheriff?
·5· · · · A· · They were demoted or terminated and some were
·6· ·repromoted.
·7· · · · Q· · Was anyone else terminated right when Rick
·8· ·Reigenborn became sheriff?
·9· · · · A· · Not that I'm aware of.
10· · · · Q· · Was anyone else who we've discussed -- strike
11· ·that.· Was anyone else, other than those individuals
12· ·we've discussed, demoted after Sheriff Reigenborn became
13· ·sheriff?
14· · · · A· · I don't remember anyone else getting demoted.
15· · · · Q· · Okay.· Have you told me everything you know
16· ·about these terminations and demotions?
17· · · · A· · I will just add that we had -- when we had the
18· ·discussions around the table with the sheriff, and who
19· ·are we going to make commanders.· I specifically stated
20· ·that I wanted Sam Thede to be my commander.· And so that
21· ·decision is like if that's who you want, that's who you
22· ·get.· And so he was brought back.· And then when I said
23· ·I want Manuel Carrillo as a sergeant he says, if that's
24· ·what you want, that's what you get.· And so those two
25· ·people were -- Manny Carrillo was promoted back to




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·1· ·we make a change, it's the executive leadership team
·2· ·meets says yes, sheriff gives it, yeah, that's the final
·3· ·buzzing that were going to go, then it gets implemented.
·4· · · · Q· · So can you make policy decisions without the
·5· ·sheriff's --
·6· · · · A· · No.
·7· · · · Q· · -- authority?
·8· · · · A· · If it's an immediate emergency and I need to
·9· ·make a decision.· And it's -- I can't think of anything
10· ·that's not covered in policy that I would have to make a
11· ·decision for it.· But if it's an emergency and I need to
12· ·make an emergency decision, I have that authorization.
13· ·But to change a policy, no.
14· · · · Q· · Would you describe your role as a policy
15· ·making role?
16· · · · A· · No.· I would describe more in -- more of a --
17· ·how would I describe it?· It's not -- as far as policy
18· ·goes, my job is to -- if something that we need to do
19· ·doesn't fit within policy, then we need to look at
20· ·policy and make those changes.· It's not a creating a
21· ·new policy as much as it is modifying things that we do
22· ·now.· Most of the changes that we make at the jail are
23· ·to post order because things change day-to-day on -- on
24· ·those kind of things, a new law comes out.· We can't do
25· ·this anymore.· So we got to strike that out of a post




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·1· ·order and make that change.· So the policy pretty much
·2· ·stays the policy.· And that's why we have the post
·3· ·orders so that we can make the day-to-day changes and we
·4· ·don't have to go back and change that document.· It's
·5· ·still and it's being booked in, but no longer can be,
·6· ·you know, now we're going to body scan every person that
·7· ·comes in the building or now we are going to pat down
·8· ·every person that comes in the building, whatever that
·9· ·is you change that in post order and not policy.
10· · · · Q· · Okay.· In general, is it your duty to
11· ·implement the policies that had been approved by the
12· ·sheriff?
13· · · · A· · My -- my job is to make sure that the people
14· ·at the jail are -- are working within the policy of the
15· ·sheriff's office.
16· · · · Q· · Okay.· How frequently do you meet with that
17· ·executive leadership team?
18· · · · A· · Weekly.· Every Thursday.
19· · · · Q· · Can you walk me through what one of those
20· ·meetings looks like?
21· · · · A· · So every Thursday we meet, and it's basically
22· ·kind of an update on what's going on in everyone's
23· ·division.· And it's usually the sheriff and the other
24· ·sheriff are up to speed on everything that's going on.
25· ·It's more so that FLATROCK -- we -- I know what FLATROCK




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·1· · · · Q· · Do you plan to support Sheriff Reigenborn in
·2· ·this upcoming campaign?
·3· · · · A· · I do.
·4· · · · Q· · Okay.· Do you -- have you been involved
·5· ·already in his campaign?
·6· · · · A· · No.
·7· · · · Q· · What do you expect your involvement might be
·8· ·in this campaign?
·9· · · · A· · I will probably march in some parades and I
10· ·plan on making a contribution to him I haven't done it
11· ·yet, but plan not doing that.· Is probably to the extent
12· ·of like I'll put -- I'll put a sign in my yard for the
13· ·first time ever.· Yeah.
14· · · · Q· · Why are you going to be more involved now than
15· ·you have in past?
16· · · · A· · Similar to division chief, I'm expected to.
17· · · · Q· · Do you think Sheriff Reigenborn would be upset
18· ·if any of his division chief did not actively support
19· ·him in the political campaign?
20· · · · A· · Yes.· As would, I -- if I were the sheriff
21· ·because then I have to worry about what are you doing to
22· ·undermine me as a current sheriff if you're not
23· ·supporting me as the sheriff?
24· · · · Q· · So do you think it would be inappropriate for
25· ·division chief to support a sheriff's political




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·1· ·from the beginning and this is how we are going to do
·2· ·things.
·3· · · · Q· · Was it strange to not have written internal
·4· ·affairs procedures?
·5· · · · A· · Yeah.· For never having -- you know, never
·6· ·being there before and not having any.· Yeah.· It was
·7· ·strange but it was also fairly -- wasn't that long it
·8· ·was still that we're basically following the same
·9· ·general things that we were doing.· Just we are going to
10· ·make some minor tweaks to it here in there like
11· ·represent and that kind of thing it was different.
12· · · · Q· · Okay.· Did Sheriff Reigenborn talk at all
13· ·about those policy changes?
14· · · · A· · Not with me.
15· · · · Q· · So during your executive leadership meetings,
16· ·did you ever discuss the new policies?
17· · · · A· · When I -- when we first started, we had, like,
18· ·monthly leadership meetings and so it was more those
19· ·decisions were being made at the comm -- the sheriff --
20· ·under sheriff level and just kind of being passed down.
21· ·And then as we went along, probably six, eight months
22· ·in, is when we decided and we really need do this on a
23· ·weekly.· So they were up to speed on things that are
24· ·going to change before they change rather than the
25· ·opposite.




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